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Case: 3:25-cr-00068-JRK Doc #:1 Filed: 02/20/25 1o0f 4. PagelD #: 1

FILED
FEB 2.0 2025
AGRTRERN District OF OHIO
IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
WESTERN DIVISION
)
UNITED STATES OF AMERICA, ) INFORMATION
)
Plaintiff, ) — e
n p ©
) 2.98 GR G
v. ) CASENO.2 ° &
) Title 18, United States Code,
CHERYL L. LIBERTORE and ) Section 371.
STEVEN V. LIBERTORE, )
) JUDGE KNEPP
Defendants. )

M
COUR AG JUDGE CLAY

(Conspiracy, 18 U.S.C. § 371)
The United States Attorney charges:

General Allegations

At all times relevant to this Information:

An From approximately September 2019 through October 2022, Defendant CHERYL
L. LIBERTORE was the bookkeeper for Graphic Signs, LLC, a Michigan limited-liability
company with its principal place of business in the Northern District of Ohio, Western Division.

2D As the bookkeeper for Graphic Signs, CHERYL L. LIBERTORE had access to
and control of various financial accounts, including credits cards, belonging to Graphic Signs

and its owner.

3. CHERYL L. LIBERTORE and STEVEN V. LIBERTORE were married.
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Statutory Allegation

4, From in or around September 2019 until in or around October 2022, in the
Northern District of Ohio, Western Division, and elsewhere, the Defendants, CHERYL L.
LIBERTORE and STEVEN V. LIBERTORE, knowingly combined, conspired, confederated,
and agreed to commit an offense against the United States, to wit: knowingly devised and
intended to devise a scheme and artifice to defraud and to obtain money and property by means
of false and fraudulent pretenses, representations, and promises, and for the purpose of executing
the scheme and artifice to defraud and attempting to do so, transmitted and caused to be
transmitted by means of wire communication in interstate and foreign commerce, writings, signs,
signals, and pictures, in violation of Title 18, United States Code, Section 1343.

Manner and Means

5. It was part of the conspiracy that CHERYL L. LIBERTORE used her access to
Graphic Signs’s financial accounts and credit cards to embezzle funds belonging to Graphic
Signs for her personal use.

6. It was further part of the conspiracy that CHERYL L. LIBERTORE and STEVEN
V. LIBERTORE obtained short-term, high-interest small business loans in Graphic Signs’s name
in order to fund and conceal CHERYL L. LIBTERORE’s embezzlement.

Ts It was further part of the conspiracy that when lenders or credit card companies
asked to speak with the owner of Graphic Signs, CHERYL L. LIBTERTORE would give the
telephone to STEVEN V. LIBERTORE, who falsely claimed to be Graphic Signs’s owner.

8. It was further part of the conspiracy that CHERYL L. LIBERTORE and STEVEN
V. LIBERTORE contacted lenders and credit card companies using wire communications,

namely, telephone calls and internet communications, from Ohio to other states.
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Overt Acts

9; On or about August 26, 2021, CHERYL L. LIBERTORE used an American
Express credit card belonging to Graphic Signs to make a down payment on a vacation rental in
Gatlinburg, Tennessee.

10. On or about December 6, 2021, CHERYL L. LIBERTORE used an American
Express credit card belonging to Graphic Signs to purchase airfare for a family vacation to
Cancun, Mexico.

11. On or about February 10, 2022, CHERYL L. LIBERTORE obtained a $57,000
business loan from CAN Capital, which was not authorized by Graphic Signs’s owner.

12. Onor about March 23, 2022, CHERYL L. LIBERTORE applied for a loan
through accounts receivable financing from Forward Financing, resulting in Graphic Signs
incurring approximately $45,415 in debt, which was not authorized by Graphic Signs’s owner.

13. Onor about March 24, 2022, STEVEN V. LIBERTORE falsely portrayed himself
as the owner of Graphic Signs in order to obtain financing from Forward Financing.

14, On or about March 31, 2022, CHERYL L. LIBERTORE obtained loans totaling
$48,434 loan from Fundbox, Inc., which were not authorized by Graphic Signs’s owner.

15. Onor about April 27, 2022, CHERYL L. LIBERTORE and STEVEN V.
LIBERTORE contacted American Express via telephone and attempted to remove a hold on a
credit card account belonging to Graphic Signs.

16. On or about July 28, 2022, CHERYL L. LIBERTORE used a Southwest Airlines
Visa credit card belonging to Graphic Signs to make a final payment on a vacation rental in

Gatlinburg, Tennessee.
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17. Onor about August 5, 2022, STEVEN V. LIBERTORE falsely portrayed himself
as the owner of Graphic Signs in order to obtain a loan from Funding Metrics.

18. On or about August 8, 2022, CHERYL L. LIBERTORE obtained a $23,405 loan
from Funding Metrics which was not authorized by Graphic Signs’s owner.

All in violation of Title 18, United States Code, Section 371.

CAROL M. SKUTNIK
Acting United States Attorney

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AVA R. DUSTIN
Toledo Branch Chief
